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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA           *
                                   *
     v.                            *    CRIMINAL NO. 23-cr-257 (TSC)
                                   *
DONALD J. TRUMP,                   *
                                   *
          Defendant.               *
                                   *

GOVERNMENT’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION TO
        DISMISS ON PRESIDENTIAL IMMUNITY GROUNDS
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I.     Introduction

       Defendant Donald J. Trump moves to dismiss the indictment, asking the Court to afford

him absolute immunity from criminal prosecution for what he expansively claims was official

conduct during his presidency. ECF No. 74 (“Mot.”). That novel approach to immunity would

contravene the fundamental principle that “[n]o man in this country is so high that he is above the

law.” United States v. Lee, 106 U.S. 196, 220 (1882). The defendant is not above the law. He is

subject to the federal criminal laws like more than 330 million other Americans, including

Members of Congress, federal judges, and everyday citizens. None of the sources the defendant

points to in his motion—the Constitution’s text and structure, history and tradition, or Supreme

Court precedent—supports the absolute immunity he asks the Court to create for him. In staking

his claim, he purports (Mot. 29) to draw a parallel between his fraudulent efforts to overturn the

results of an election that he lost and the likes of Abraham Lincoln’s Gettysburg Address and

George Washington’s Farewell Address. These things are not alike. The more apt parallel the

defendant identifies (Mot. 17-18) is to judges, who, like a former president, enjoy absolute

immunity from civil damages liability for certain conduct but who are “subject to criminal

prosecutions as are other citizens.” Dennis v. Sparks, 449 U.S. 24, 31 (1980). The same is true

for the defendant. For the reasons set forth below, the defendant’s motion to dismiss the indictment

based upon presidential immunity should be denied.

II.    Factual and Procedural Background

       A grand jury charged the defendant in a four-count indictment. ECF No. 1. The defendant

moved to dismiss the indictment on the ground that he “is absolutely immune from prosecution.”

Mot. 1. When considering a motion to dismiss, the Court must view the indictment “as a whole[,]

and the allegations must be accepted as true.” United States v. Weeks, 636 F. Supp. 3d 117, 120

(D.D.C. 2022) (internal quotation marks omitted).


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       Count One, which charges a conspiracy to defraud the United States, in violation of 18

U.S.C. § 371, alleges that the defendant, then a candidate seeking re-election to the presidency,

conspired with, among others, several individuals outside the Executive Branch to “overturn the

legitimate results of the 2020 presidential election by using knowingly false claims of election

fraud to obstruct the federal government function by which those results are collected, counted,

and certified.” ECF No. 1 at ¶¶ 1, 7, 8. The indictment further alleges that the defendant aimed at

accomplishing the conspiracy’s objectives in five ways: using deceit toward state officials to

subvert the legitimate election results in those states, id. at ¶¶ 13-52; using deceit to organize

fraudulent slates of electors in seven targeted states, and cause them to send false certificates to

Congress, id. at ¶¶ 53-69; leveraging the Department of Justice to use deceit to get state officials

to replace the legitimate electoral slate with electors who would cast their votes for the defendant,

id. at ¶¶ 70-85; attempting to enlist the Vice President to fraudulently alter the election results

during the certification proceeding on January 6, 2021, and directing supporters to the Capitol to

obstruct the proceeding, id. at ¶¶ 86-105; and exploiting the violence and chaos that transpired at

the United States Capitol on January 6, 2021, id. at ¶¶ 106-124. Counts Two and Three, which

incorporate allegations from Count One, charge conspiracy and substantive violations of 18 U.S.C.

§ 1512(c)(2) for corruptly obstructing the certification of the presidential election results on

January 6, 2021. Id. at ¶¶ 125-28. Count Four, which likewise incorporates the allegations from

Count One, alleges that the defendant conspired to violate one or more person’s constitutional right

to vote and have one’s vote counted. Id. at ¶¶ 129-30.

       The defendant recognizes (Mot. 2) but fails to adhere to the legal standard applicable to a

motion under Rule 12 of the Federal Rules of Criminal Procedure requiring that the indictment’s

allegations “be accepted as true.” Instead, the defendant inaccurately reframes the allegations in

the indictment to suggest that his criminal conduct consisted solely of “public statements and

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tweets about the federal election and certification,” “communications with the U.S. Department of

Justice about investigating elections crimes and possibly appointing a new Acting Attorney

General,” “communications with state officials about the federal election and the exercise of their

official duties with respect to the election,” “communications with the Vice President and

Members of Congress about the exercise of their official duties in the election-certification

proceedings,” and “organizing slates of electors as part of the attempt to convince legislators not

to certify the election against defendant.”         Id. at 3-8 (capitalization altered).      Those

characterizations are not consistent with the indictment.

III.   Argument

       An individual who has served as President of the United States but is no longer in office

may face investigation, indictment, trial, and, if convicted, punishment for conduct committed

during the presidency. No court has ever alluded to the existence of absolute criminal immunity

for former presidents, and legal principles, historical evidence, and policy rationales demonstrate

that once out of office, a former president is subject to federal criminal prosecution like other

citizens. See United States v. Burr, 25 F. Cas. 30, 34 (C.C.D. Va. 1807) (“[T]he president is elected

from the mass of the people, and, on the expiration of the time for which he is elected, returns to

the mass of the people again.”). Indeed, a contrary rule would violate the fundamental principle

that no one in this country, not even the president, is above the law.

       The defendant’s novel request for absolute immunity directly conflicts with the

Constitution’s Impeachment Judgment Clause, U.S. Const. art. I, § 3, cl. 7, which expressly

contemplates the criminal prosecution of a former president for acts committed during—and

ultimately resulting in the president’s removal from—the presidency. That provision ensures,

among other things, that an officer who has been removed through impeachment cannot seek

refuge in principles of double jeopardy to avoid criminal prosecution. The defendant, however,


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would turn the Impeachment Judgment Clause on its head and have the Court read it as a sweeping

grant of immunity that forbids criminal prosecution in the absence of a Senate conviction—which,

among other things, would effectively preclude any form of accountability for a president who

commits crimes at the end of his term of office. The defendant dismissed this very approach to

the Impeachment Judgment Clause as “nonsense” and “a complete canard” during his second

impeachment trial, see 167 Cong. Rec. S601, S607 (daily ed. Feb. 9, 2021), and the Court should

do the same here. A president already enjoys two forms of immunity designed to afford protections

to the discharge of his wide-ranging duties. But neither the temporary immunity from criminal

liability that an incumbent president enjoys while in office nor the absolute immunity that current

and former presidents enjoy from civil liability for their official conduct as president, see Nixon v.

Fitzgerald, 457 U.S. 731, 749 (1982), suggests the existence of an unprecedented form of absolute

immunity from criminal liability. To the contrary, the existence of both immunities is premised

on the availability of criminal liability once a former president is out of office. The defendant’s

motion to dismiss should be denied on the ground that a former president cannot claim any

immunity from federal criminal prosecution. 1

       Even if the defendant had satisfied his burden to establish that a former president could

claim some heretofore unrecognized and novel immunity from criminal prosecution for certain

acts committed during his presidency, denial of the defendant’s motion is nonetheless warranted.

Recognizing immunity from federal criminal prosecution for a former president would pose

substantial challenges regarding its scope and application, and the defendant provides no

suggestion or support for how to navigate such challenges. At a minimum, any such criminal

immunity would, consistent with the reasoning in Fitzgerald and the balancing in United States v.


       1
          This brief addresses only a former President’s immunity from federal criminal
prosecution.

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Nixon, 418 U.S. 683 (1974), be narrower than the outer-perimeter immunity applicable in the civil

context and would have to reflect a consideration of mens rea, since otherwise even clear cases

like bribery would be excluded. The defendant has not shown that the conduct alleged in the

indictment would fall within the boundaries of any plausible understanding of such a novel

immunity from federal criminal prosecution. And even if he could claim immunity from criminal

prosecution for official conduct while in office comparable to the broad immunity from civil

liability recognized in Fitzgerald, dismissal is inappropriate because the defendant cannot

plausibly claim that every allegation in the indictment involves acts within the outer perimeter of

a president’s official responsibility.

        A.      Legal Background

        Unlike the express immunity conferred to legislators in the Speech or Debate Clause, see

U.S. Const. art. I, § 6, cl. 1, no provision in the Constitution explicitly grants immunity to a sitting

or former President of the United States. The Constitution provides for a president’s removal

through “impeachment for, and conviction of, treason, bribery, or other high crimes and

misdemeanors.” U.S. Const. art. II, § 4 (capitalization altered). The Constitution’s Impeachment

Judgment Clause further provides that although the sole punishment the Senate may impose on a

president (or other federal officer) impeached and convicted is removal from office and

disqualification “to hold and enjoy any Office of honor, Trust or Profit under the United States,”

the impeached and convicted officer “shall nevertheless be liable to Indictment, Trial, Judgment

and Punishment, according to Law.” U.S. Const. art. I, § 3, cl. 7.

        The Supreme Court has not addressed a sitting or former president’s claim of immunity

from criminal liability, but it has addressed the issue in the civil context. In Fitzgerald, 457 U.S.

731, the Court considered whether the plaintiff could seek damages in an employment

discrimination suit against former President Nixon based on a reduction in force that Nixon had


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undertaken in his “official capacity during his tenure in office.” Id. at 733. In light of the

President’s unique constitutional responsibilities and the “singular importance of the President’s

duties,” id. at 750-51, as well as the risk that private damages actions could “diver[t]” the

President’s “energies” and diminish his “‘ability to deal fearlessly and impartially with’ the duties

of his office,” id. at 751-52, the Court held that the President “is entitled to absolute immunity

from damages liability predicated on his official acts,” id. at 749. That “absolute Presidential

immunity” encompassed “acts within the ‘outer perimeter’ of [the President’s] official

responsibility,” which included the force reduction. Id. at 756-57. In recognizing this immunity,

the Court specifically noted that “there is a lesser public interest in actions for civil damages than,

for example, in criminal prosecutions.” Id. at 754 n.37. Fifteen years later, the Supreme Court in

Clinton v. Jones, 520 U.S. 681 (1997), rejected President Clinton’s argument that the absolute

presidential immunity recognized in Fitzgerald afforded him, while president, temporary

immunity from civil claims arising from his time as the Governor of Arkansas because the

immunity doctrine’s “principal rationale”—allowing officials “to perform their designated

functions effectively without fear that a particular decision may give rise to personal liability” and

enabling them to “deal fearlessly and impartially with the public at large”—did not apply to

unofficial conduct. Id. at 692-93 (internal quotation marks omitted).

       Drawing support in part from the Supreme Court’s decisions in Fitzgerald and Clinton, the

Department of Justice’s Office of Legal Counsel (“OLC”) in 2000 reaffirmed its earlier

conclusion 2 that the Constitution does not permit the indictment or criminal prosecution of a sitting

president. See Randolph D. Moss, A Sitting President’s Amenability to Indictment and Criminal

Prosecution, 24 Op. O.L.C. 222, 244 (Oct. 16, 2000). The reasoning employed by the OLC


       2
          See Robert G. Dixon, Jr., Amenability of the President, Vice President and other Civil
Officers to Federal Criminal Prosecution while in Office (Sept. 24, 1973).

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strongly supports the conclusion that a former president may be prosecuted. The OLC identified

three burdens—a prison term, the “public stigma and opprobrium” resulting from an indictment,

and the distraction of defending against the charges—that militated against prosecution of a sitting

president given how those burdens might “severely hamper the President’s performance of his

official duties.” Id. at 246. At the same time, the OLC observed that the President is not “‘above

the law,’” and that “[r]ecognizing an immunity from prosecution for a sitting President would not

preclude such prosecution once the President’s term is over or he is otherwise removed from office

by resignation or impeachment.” Id. at 255, 257.

        B.      A Former President Has No Immunity from Federal Criminal Prosecution.

        No legal principle, case, or historical practice supports the conclusion that a former

president is immune from federal criminal prosecution for conduct undertaken during his

presidency. Although the defendant suggests (Mot. 15-16) that the absence of any supporting

materials stems from the lack of prior indictments of former presidents, the truth is that presidential

amenability to criminal prosecution has been the subject of extensive debate ever since the

founding. And while some have disagreed with the Department of Justice’s longstanding view

that a sitting president may not be indicted, tried, convicted, and punished, there has been universal

agreement that a former president may be subject to federal criminal prosecution—a principle

recognized in the Constitution and rooted in historical practice. Moreover, the justifications that

caused the Supreme Court to recognize a former president’s absolute immunity from civil liability

in Fitzgerald, 457 U.S. 731, do not similarly require absolute immunity from federal criminal

liability. Extending absolute immunity from civil liability to encompass the criminal prosecution

of a former president would be inconsistent with the reasoning and policy considerations identified

in that case.




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               1.      No constitutional provision or historical practice supports conferring
                       absolute immunity from criminal prosecution on a former president.

       The defendant claims (Mot. 8-21) that his status as a former President of the United States

entitles him to absolute immunity from criminal prosecution for any conduct undertaken while he

was in office. If accepted, that claim would undermine the bedrock principle that “[n]o man in

this country is so high that he is above the law.” United States v. Lee, 106 U.S. 196, 220 (1882).

That principle extends to “[a]ll the officers of the government, from the highest to the lowest,” and

requires that “every man who by accepting office participates in its functions is only the more

strongly bound to submit to that supremacy.” Id. And the principle that no one is above the law

“applies, of course, to a President.” Trump v. Vance, 140 S. Ct. 2412, 2432 (2020) (Kavanaugh,

J., concurring). In choosing to break from the British monarchy headed by a “sacred” and

“inviolable” King not “amenable” to any “constitutional tribunal” and not subject to any

punishment, the founders instead created a “President of the United States” who could be removed

through impeachment and would be “liable to prosecution and punishment in the ordinary course

of law.” The Federalist No. 69, at 384 (Alexander Hamilton) (Clinton Rossiter ed., 1999); see

Trump v. Thompson, 573 F. Supp. 3d 1, 16 (D.D.C. 2021) (“Presidents are not kings[.]”).

       The principle that no one is above the law underlies the universal consensus that a president

may be subject to criminal prosecution at some point. The United States has long taken the position

that the Constitution affords a sitting president temporary immunity from criminal prosecution

until the conclusion of his presidential term, though some have disagreed. 3 But the defendant can


       3
          Compare, e.g., Saikrishna Bangalore Prakash, Prosecuting and Punishing Our
Presidents, 100 Tex. L. Rev. 55, 60 (2021) (arguing that a sitting president “may be arrested,
indicted, prosecuted, and punished”); Claire O. Finkelstein & Richard W. Painter, Presidential
Accountability and the Rule of Law: Can the President Claim Immunity If He Shoots Someone on
Fifth Avenue?, 24 U. Pa. J. Const. L. 93, 97 (2022) (same), with Akhil Reed Amar & Brian C.
Kalt, The Presidential Privilege Against Prosecution, 2 Nexus 11, 11 (1997) (“[W]e believe that


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identify no support for his broad claim that he is forever entitled to absolute immunity for any

conduct while he served as president. In fact, “both sides in the immunity debate agree that

presidents are unregally subject to criminal prosecution” and disagree only on “timing.” Brian C.

Kalt, Criminal Immunity and Schrödinger’s President: A Response to Prosecuting and Punishing

Our Presidents, 100 Tex. L. Rev. Online 79, 83 (2021). That a president may face criminal

prosecution for conduct during his presidency when no longer in office draws support from the

Constitution and historical practice.

                       a.      The Constitution does not support absolute immunity from
                               criminal prosecution for a former president for conduct while
                               in office.

       Two constitutional provisions support the conclusion that a former president does not

possess absolute immunity from criminal prosecution. First, unlike the explicit textual immunity

conferred to legislators under the Speech or Debate Clause, U.S. Const. art. I, § 6, cl. 1, which

provides that “for any Speech or Debate in either House,” members of Congress “shall not be

questioned in any other Place,” the Constitution does not expressly provide such protection for the

President or any executive branch officials. 4 To be sure, the Constitution’s “silence . . . on this

score is not dispositive,” Nixon, 418 U.S. at 705 n.16, “in light of the ‘presuppositions of our

political history,’” Fitzgerald, 457 U.S. at 745 (quoting Tenney v. Brandhove, 341 U.S. 367, 376

(1951)). But that silence is telling when placed against the Constitution’s Impeachment Judgment

Clause, which expressly contemplates criminal prosecution following impeachment and



the best view of constitutional text, history, structure, and precedent supports the conclusion that
Justice Story reached: Sitting Presidents cannot be prosecuted.”); Keith King, Indicting the
President: Can a Sitting President Be Criminally Indicted?, 30 Sw. U. L. Rev. 417, 418 (2001)
(same).
       4
         By contrast, some state constitutions operative at the time of the founding did grant
express criminal immunity to the state’s chief executive officer. See Prakash, supra, at 69-70
(discussing the 1776 Virginia Constitution and the 1776 Delaware Constitution).

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conviction. See U.S. Const. art. I, § 3, cl. 7. Where a president—or any federal officer—has been

impeached by the House and convicted at an impeachment trial in the Senate, the Impeachment

Judgment Clause provides that the punishment for such impeachment and conviction “shall not

extend further than to removal from Office, and disqualification to hold and enjoy any Office of

honor, Trust or Profit under the United States: but the Party convicted shall nevertheless be liable

and subject to Indictment, Trial, Judgment and Punishment, according to Law.” Id. It would be

incongruous to conclude that the Constitution or common law shields a former president from

criminal prosecution when the Constitution expressly states that a former president may be subject

to criminal prosecution after impeachment by the House and conviction by the Senate.

       It would be all the more strained to reach that conclusion in light of the constitutional

impeachment system. Under the Constitution, a president is subject to impeachment and Senate

conviction for, among other things, “high crimes and misdemeanors.” U.S. Const. art. II, § 4

(capitalization altered).   When the Constitution was ratified, the phrase “high crimes and

misdemeanors” was aimed at the “misconduct of public men,” including the “abuse or violation

of some public trust.” The Federalist No. 65, at 364 (Hamilton). In that respect, “high crimes and

misdemeanors” were offenses that “may with peculiar propriety be denominated POLITICAL, as

they relate chiefly to injuries done immediately to the society itself.” Id.; accord 2 Joseph Story,

Commentaries on the Constitution of the United States § 783 (1833) (noting that the “offences, to

which the remedy of impeachment has been, and will continue to be principally applied, are of a

political nature”). The conduct that impeachment targets includes “acts taken in [the president’s]

‘public character’—that is, official acts[.]” Clinton, 520 U.S. at 696. As noted above, the

Constitution’s Impeachment Judgment Clause expressly contemplates the criminal prosecution of

an impeached and convicted federal officer, including a president. See U.S. Const. art. I, § 3, cl.

7. In other words, given that the Constitution permits the impeachment and Senate conviction of

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a president for official conduct taken in his public role and likewise explicitly provides for an

impeached and Senate-convicted president’s criminal prosecution for the same conduct, it would

be implausible to posit that the Constitution also simultaneously (and implicitly) immunizes a

former president from criminal prosecution for official acts.

       The defendant’s argument (Mot. 11-13) that impeachment is the “[e]xclusive [m]ethod” by

which to hold a former president responsible for “[c]rimes in [o]ffice” is incorrect. As noted, the

Impeachment Judgment Clause envisions both impeachment and criminal prosecution of a

president who has been removed from office through impeachment. See U.S. Const. art. I, § 3, cl.

7; see Nixon v. United States, 506 U.S. 224, 234 (1993) (“[T]he Framers recognized that most

likely there would be two sets of proceedings for individuals who commit impeachable offenses—

the impeachment trial and a separate criminal trial.”). The Impeachment Judgment Clause thus

reflects the “separate and different roles for the executive’s power of prosecution and the

legislature’s impeachment powers.” Hastings v. United States Senate, 716 F. Supp. 38, 42 (D.D.C.

1989). It follows that neither branch can block the other from acting, and each has “different roles

to play” when an officer subject to impeachment and criminal prosecution—such as a president—

“engages in criminal behavior.” Id.; cf. Nixon, 506 U.S. at 226-27 (federal judge convicted for

making false statements after which Congress instituted impeachment proceedings).

       Moreover, if the defendant’s theory that criminal prosecution is available only when

preceded by House impeachment and Senate conviction were correct, it would either completely

shield a former president from criminal prosecution for crimes committed while in office but

discovered afterwards or require that Congress initiate impeachment proceedings against a former

president. But the Impeachment Judgment Clause does not empower Congress to control the core

executive act of prosecution through the political impeachment process. See 2 Story, supra, at

§ 801 (explaining that even if an impeached party was no longer in office and therefore could no

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longer be removed, “his offence was still liable to be tried and punished in the ordinary tribunals

of justice”).

        The defendant’s argument also flatly contradicts his claim during his second impeachment

proceedings. At his impeachment trial in the Senate, the defendant aptly described the theory that

he is now advocating as a “complete canard” because “[c]learly, a former civil officer who is not

impeached is subject to” criminal prosecution as described in the Impeachment Judgment Clause.

See 167 Cong. Rec. S607 (daily ed. Feb. 9, 2021). The defendant further contended that the “idea

of a January amnesty [was] nonsense” because if he “committed a criminal offense” then “[a]fter

he is out of office, you go and arrest him,” adding, “[t]he Department of Justice does know what

to do with such people.” Id. at S601. In short, at his impeachment trial, the defendant argued that

he could not be convicted by the Senate because he was no longer in office but that he was subject

to post-presidency prosecution, and he now—when facing such a prosecution—argues that he

cannot be prosecuted for criminal offenses concerning conduct while he was in office because he

was not convicted by the Senate for that conduct. The Constitution does not countenance, let alone

require, such a perverse outcome.

        To the extent that the defendant separately grounds (Mot. 13) his immunity claim in the

fact of a Senate acquittal, as distinct from the mere absence of a conviction, that argument fares

no better. Neither the Impeachment Judgment Clause, U.S. Const. art. I, § 3, cl. 7, nor the Double

Jeopardy Clause, U.S. Const. amend. V, supports that cursory claim. Indeed, Justice Story—

whose ambiguous comment about presidential civil immunity the defendant otherwise relies on,

see infra 17-18—explained that the Constitution wisely separated an impeachment trial (with its

exclusive remedies of removal and disqualification) from a trial “in the common tribunals of

justice” to ensure that “a second trial for the same offence could be had, either after an acquittal,

or a conviction in the court of impeachments.” 2 Story, supra, §§ 780-81. Otherwise, “if no such

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second trial could be had, then the grossest official offenders might escape without any substantial

punishment, even for crimes, which would subject their fellow citizens to capital punishment.” Id.

Impeachment and removal thus do not constitute “jeopardy” in a criminal sense, see Randolph D.

Moss, Whether a Former President May Be Indicted and Tried for the Same Offenses for Which

He Was Impeached by the House and Acquitted by the Senate, 24 Op. O.L.C. 110, 119-34 (Aug.

18, 2000), but even if they did, acquittal in the Senate would not preclude criminal prosecution

based on the express constitutional text.5

       The defendant’s reliance (Mot. 11-12) on an asserted negative implication—that the phrase

“Party convicted” in the Impeachment Judgment Clause requires that an officer be both impeached

and convicted before that officer may face criminal prosecution—is therefore misplaced. The

prior portion of the Clause specifies the permissible consequences for a party convicted by the

Senate. The portion of the Clause on which the defendant relies then makes clear that such a party

is subject to criminal prosecution. The best reading of the text thus is that it does not speak to

acquittal at all. Moreover, the asserted negative implication cannot overcome historical evidence

and structural considerations indicating that the Impeachment Judgment Clause was intended to

limit congressional sanctions for impeachment to removal and disqualification from office, not to

preclude the prosecution of an impeached but not convicted officer.          See United States v.

Claiborne, 727 F.2d 842, 846 (9th Cir. 1984) (per curiam) (Impeachment Judgment Clause “was



       5
           And even if the Double Jeopardy Clause applied, it would not preclude this prosecution.
The Clause protects against multiple punishments for the same offense, see Missouri v. Hunter,
459 U.S. 359, 365-66 (1983), and requires ascertaining whether each requires proof of an element
that the other does not, Blockburger v. United States, 284 U.S. 299, 304 (1932). The offenses
charged in this case are not the same as the “incitement of insurrection” article of impeachment at
issue in the defendant’s impeachment trial. See H.R. Res. 24, 117th Cong. at 3 (Jan. 11, 2021)
(Single article of impeachment for high crimes and misdemeanors alleging that the defendant
violated his “constitutional oath faithfully to execute the office of President of the United States
. . . by inciting violence against the Government of the United States”).

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intended ‘to assure that after impeachment a trial on criminal charges is not foreclosed by the

principle of double jeopardy’”) (quoting United States v. Isaacs, 493 F.2d 1124, 1142 (7th Cir.

1974) (per curiam)); Thompson v. Trump, 590 F. Supp. 3d 46, 86-87 (D.D.C. 2022).

       Finally, the defendant’s suggestion (Mot. 13) that a criminal prosecution “cannot second-

guess” the Senate misstates the relationship between these two separate and distinct proceedings,

see Hastings, 716 F. Supp. at 42, as emphasized by the reasons several Senators gave for their not-

guilty votes in the defendant’s own impeachment trial. In that proceeding, the defendant argued

that, because he was no longer in office, the Senate lacked jurisdiction to convict him. In re

Impeachment of Former President Donald J. Trump, Trial Memorandum of Donald J. Trump, S.

Doc. 117-2 at 13-37 (Feb. 8, 2021). At least 31 of the 43 Senators who voted to acquit explained

that their decision to do so rested in whole or in part on their agreement with the defendant’s

jurisdictional argument, 6 underscoring that the defendant’s claimed immunity from prosecution

would create a yawning impunity gap: a president who leaves office before the House and Senate

can consider impeachment would escape accountability altogether.          Further, some Senators

explicitly referred to the availability of criminal prosecution as an alternative means of providing

accountability. See, e.g., 167 Cong. Rec. S736 (daily ed. Feb. 13, 2021) (Sen. McConnell)

(explaining that his vote was based on the view that the Senate lacked jurisdiction and stating that

the defendant “is still liable for everything he did while he was in office, as an ordinary citizen”

and that, “We have a criminal justice system in this country. We have civil litigation, and former

presidents are not immune from being held accountable by either one.”); Sen. Thom Tillis, Tillis




       6
         See statements on February 13, 2021, from Senators Barrasso, Blunt, Boozman, Braun,
Cornyn, Cramer, Crapo, Daines, Ernst, Fisher, Grassley, Hoeven, Hyde-Smith, Inhofe, Kennedy,
Lankford, Lee, Lummis, McConnell, Moore, Moran, Portman, Risch, Rounds, Rubio, Shelby,
Sullivan, Thune, Tillis, Tuberville, and Wicker.

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Statement on Impeachment Trial (Feb. 13, 2021) 7 (“An impeachment trial is not the best or only

way to hold a former elected official accountable for their actions. The ultimate accountability is

through our criminal justice system where political passions are checked and due process is

constitutionally mandated. No president is above the law or immune from criminal prosecution,

and that includes former President Trump.”); Sen. Mike Crapo, Crapo Statement on Impeachment

Trial (Feb. 13, 2021) 8 (“Both by text and by precedent, the Constitution does not allow impeaching

private citizens—even those who formerly occupied federal office. Private citizens are subject to

accountability for their actions under our legal justice system. . . . The violent, despicable acts of

January 6th have shaken our republic to its core and must not go unpunished.”).

                        b.      Historical practice does not support absolute immunity from
                                criminal prosecution for a former president for conduct while
                                in office.

       Historical evidence from the time of the founding likewise confirms that a president was

subject to prosecution when no longer in office. Writing as Publius in support of the Constitution’s

adoption, Alexander Hamilton explained that an impeachment would not “terminate the

chastisement of the offender” because “[a]fter having been sentenced to a perpetual ostracism from

the esteem and confidence, and honors and emoluments of his country, he will still be liable to

prosecution and punishment in the ordinary course of law.” The Federalist No. 65, at 365; see id.

at No. 69, at 384 (Hamilton); id. at No. 77 (Hamilton), at 432 (noting that the president is “at all

times liable to impeachment, trial, [and] dismission from office” as well as “forfeiture of life and

estate by subsequent prosecution in the common course of law”). Speaking at the North Carolina

ratifying convention, James Iredell—who would go on to become a Supreme Court Justice—noted




       7
           https://www.tillis.senate.gov/2021/2/tillis-statement-on-impeachment trial.
       8
           https://www.crapo.senate.gov/media/newsreleases/crapo-statement-on-impeach-trial.

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that “[i]f [the President] commits any crime, he is punishable by the laws of his country.” 4

Debates on the Constitution 109 (J. Elliot ed. 1891); see Trump, 140 S. Ct. at 2435 (Thomas, J.,

dissenting) (discussing Iredell).

       The reasoning in decisions declining to recognize absolute immunity for a sitting president

with respect to subpoenas issued during the course of criminal proceedings bolsters this founding-

era evidence. More than 200 years ago, Chief Justice John Marshall concluded that because a

sitting president does not “stand exempt from the general provisions of the constitution,” a

subpoena duces tecum could be issued to the president. See Burr, 25 F. Cas. at 33-34. Marshall

refused to recognize for the sitting president the common-law immunity from criminal process

recognized in “the case of king,” and observed that “it is not known ever to have been doubted”

that a chief executive could be served with a subpoena. Id.; see Nixon v. Sirica, 487 F.2d 700, 709

(D.C. Cir. 1973) (en banc) (per curiam) (observing that in Burr, Chief Justice Marshall “squarely

ruled that a subpoena may be directed to the President”). 9 In Nixon, 418 U.S. 683, the sitting

president sought to quash the Special Prosecutor’s trial subpoena seeking tape recordings of Oval

Office meetings. Although the Supreme Court recognized a qualified presidential communications

privilege to “safeguard[] the public interest in candid, confidential deliberations within the

Executive Branch,” Trump v. Thompson, 20 F.4th 10, 26 (D.C. Cir. 2021) (internal quotation

marks omitted), neither the separation of powers nor the need for confidentiality could “sustain an

absolute, unqualified Presidential privilege of immunity from judicial process under all

circumstances,” Nixon, 418 U.S. at 706. And in Trump, 140 S. Ct. 2412, the Court rejected the


       9
         To be sure, Chief Justice Marshall in a subsequent opinion stated that “[i]n no case of this
kind would a court be required to proceed against the president as against an ordinary individual.”
United States v. Burr, 25 F. Cas. 187, 192 (C.C.D. Va. 1807). But as the Supreme Court later
observed, Marshall’s recognition in Burr that a sitting president differs from an “‘ordinary
individual’” “cannot be read to mean in any sense that a President is above the law.” Nixon, 418
U.S. at 715.

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sitting president’s “categorical argument” that burdens associated with “diversion, stigma, and

harassment” warranted immunity from responding to a state criminal subpoena, id. at 2425, instead

concluding that under the reasoning in Burr and Nixon, “not even the President[] is categorically

above the common duty to produce evidence when called upon in a criminal proceeding.” Id. at

2431. In so holding, the Supreme Court reaffirmed the principle from Nixon that “the public

interest in fair and accurate judicial proceedings is at its height in the criminal setting.” Id. at 2424.

These cases thus recognize a heightened “commitment to justice” in the face of criminal law

enforcement. Id.

        Largely ignoring these cases and the history on which they draw, the defendant advances

two unpersuasive contentions (Mot. 13-16) that historical practice in fact supports a rule of

absolute presidential immunity from criminal prosecution. First, in adverting to (Mot. 13) “[e]arly

[a]uthorities,” the defendant extracts broad language expounding upon a president’s powers from

two civil cases, Marbury v. Madison, 5 U.S. 137 (1803) (Marshall, C.J.), and Martin v. Mott, 25

U.S. 19 (1827) (Story, J.), that do not address presidential immunity, let alone immunity from

criminal prosecution. The defendant’s invocation of Chief Justice Marshall’s opinion in Marbury

fails to account for Marshall’s opinion subjecting President Jefferson to a subpoena duces tecum

in a criminal proceeding four years later in Burr and the Supreme Court’s view—expressed in a

case rejecting a claim of absolute civil immunity for certain federal officers—that Marbury stands

for the propositions that “all individuals, whatever their position in government, are subject to

federal law” and that “‘[n]o man in this country is so high that he is above the law.’” Butz v.

Economou, 438 U.S. 478, 506 (1978) (citing Marbury and Lee, 106 U.S. at 220). Moreover, the

relevant language in the passage the defendant quotes (Mot. 14) from Justice Story’s treatise—that

“[t]he president cannot, therefore, be liable to arrest, imprisonment, or detention, while he is in the

discharge of the duties of his office; and for this purpose his person must be deemed, in civil cases

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at least, to possess an official inviolability,” 3 Joseph Story, Commentaries on the Constitution of

the United States § 1563 (1833)—by its terms applies to sitting presidents “while . . . in the

discharge of the duties of [their] office.” Id. The passage thus does not illuminate (let alone

govern) whether a former president is entitled to immunity from criminal prosecution for conduct

during his presidency. Even construed broadly, it at best supports principles that are not at issue

in this case. See supra 6-7 (a sitting president may not be criminally prosecuted); infra 19-34

(noting that a former president has absolute immunity from civil liability for official conduct but

explaining why comparable immunity does not apply in the criminal context).

       Second, that no former president has been criminally prosecuted (see Mot. 15-16) reflects

not a history and tradition implying the existence of criminal immunity but instead the fact that

“most presidents have done nothing criminal, making it difficult to draw inferences from the

absence of arrests or prosecutions.” Saikrishna Bangalore Prakash, Prosecuting and Punishing

Our Presidents, 100 Tex. L. Rev. 55, 82 (2021). In any event, the history is not as uniform as the

defendant suggests. President Ford’s pardon of former President Nixon covering acts during the

latter’s presidency rested on the assumption that no post-presidential immunity from criminal

prosecution existed. See Gerald Ford, Presidential Statement at 7-8 (Sept. 8, 1974) (granting

former President Nixon a “full, free, and absolute pardon . . . for all offenses against the United

States which he, Richard Nixon, has committed or may have committed or taken part in during”

his presidency) 10; Richard Nixon, Statement by Former President Richard Nixon at 1 (Sept. 8,

1974) (former president accepting “full and absolute pardon for any charges which might be

brought against me for actions taken during the time I was President of the United States”). 11 The



       10
            https://www.fordlibrarymuseum.gov/library/document/0067/1563096.pdf.
       11
            https://www.fordlibrarymuseum.gov/library/document/0019/4520706.pdf.

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same is true for President Clinton’s “forthright admission that he gave false testimony under oath”

about matters occurring during his presidency in order to avoid indictment after his presidency.

See John F. Harris & Bill Miller, In a Deal, Clinton Avoids Indictment, Washington Post (Jan. 20,

2001). 12

               2.      The immunity from civil liability for a former president’s official
                       conduct recognized in Fitzgerald does not extend to criminal liability.

        In Fitzgerald, the Supreme Court concluded that a former President has absolute immunity

from civil damages liability for “acts within the ‘outer perimeter’ of his official responsibility.”

457 U.S. at 756. The Court considered such civil immunity a “functionally mandated incident of

the President’s unique office, rooted in the constitutional tradition of the separation of powers and

supported by our history.” Id. at 749. The defendant seeks to transplant Fitzgerald’s civil-

damages-based immunity, for the first time, into the realm of criminal immunity. Not only would

applying the absolute immunity from civil damages liability recognized in Fitzgerald functionally

place a former president above the law, it would also be inconsistent with Fitzgerald’s reasoning

and its analogy to judges and prosecutors, whose absolute immunity from civil suit is carefully

balanced with liability to criminal prosecution to ensure accountability. Further, the “concerns of

public policy, especially as illuminated by our history and the structure of our government,” id. at

747-48, that supported absolute immunity in civil suits do not support such immunity in the

criminal prosecution of a former president for his conduct while in office.

                       a.      Applying Fitzgerald in the criminal context would place a
                               former president above the law.

        Offering no more than a cursory footnote (Mot. 10 n.2) for the claim that the absolute civil

immunity recognized in Fitzgerald should grant a former president comparable immunity from


        12
         https://www.washingtonpost.com/archive/politics/2001/01/20/in-a-deal-clinton-avoids-
indictment/bb80cc4c-e72c-40c1-bb72-55b2b81c3065/.

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criminal prosecution, the defendant contends (id. at 27-45) that he is permanently immune from

criminal liability for any conduct that falls within the outer perimeter of his official presidential

duties—which, he maintains, should be assessed at a high level of abstraction and generality.

Thus, in the defendant’s view, a court should treat a president’s conduct as absolutely immune

from criminal prosecution as long as it takes the form of a statement on a matter of public concern,

or a meeting with a member of the executive branch, or correspondence with a state official about

a matter in which there is a federal interest. Moreover, even where the conduct at issue does not

fit within the outer perimeter of the functions of his office, he is still immune, in the defendant’s

telling, so long as his conduct was “intertwined” with some conduct that does fit within that

perimeter. Id. at 44-45. Once immunity attaches, he further claims (id. at 23-26), it is absolute,

and no evidence of criminal purpose can overcome it or even be considered in evaluating its

application.

       The implications of the defendant’s unbounded immunity theory are startling. It would

grant absolute immunity from criminal prosecution to a president who accepts a bribe in exchange

for a lucrative government contract for a family member; a president who instructs his FBI Director

to plant incriminating evidence on a political enemy; a president who orders the National Guard

to murder his most prominent critics; or a president who sells nuclear secrets to a foreign adversary.

After all, in each of these scenarios, the president could assert that he was simply executing the

laws; or communicating with the Department of Justice; or discharging his powers as commander-

in-chief; or engaging in foreign diplomacy—and his felonious purposes and motives, as the

defendant repeatedly insists, would be completely irrelevant and could never even be aired at trial.

In addition to the profoundly troubling implications for the rule of law and the inconsistency with

the fundamental principle that no man is above the law, that novel approach to immunity in the

criminal context, as explained above, has no basis in law or history.

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                       b.      Fitzgerald’s reasoning does not apply in the criminal context.

       The defendant’s contention (Mot. 10 n.2) that the immunity recognized in Fitzgerald must

“extend to” the criminal context does not withstand scrutiny. Multiple opinions in Fitzgerald

clarified that neither the case’s holding nor its reasoning supported the conclusion that a former

president could claim a comparable immunity from criminal prosecution. 13 The five-Justice

majority observed that the separation-of-powers rationale that often counsels judicial restraint

toward a president applied with less force where the Court acts “to vindicate the public interest in

an ongoing criminal prosecution” as it did in United States v. Nixon. 457 U.S. at 754. By contrast,

a “merely private suit for damages based on a President’s official acts” did not implicate the “broad

public interests” supporting “judicial action.” Id. In a footnote, the majority also noted that the

Court’s prior decisions had recognized “a lesser public interest in actions for civil damages than,

for example, in criminal prosecutions.” Id. at 754 n.37. In addition to relying on United States v.

Nixon, the majority cited United States v. Gillock, 445 U.S. 360 (1980), where the Court had

declined to recognize absolute immunity from criminal prosecution for a state legislator prosecuted

in federal court because “principles of comity” yielded “where important federal interests are at

stake, as in the enforcement of federal criminal statutes.” Id. at 373.

       The concurrence and principal dissent in Fitzgerald likewise understood the decision not

to extend a former president’s immunity from suit to the criminal context. Chief Justice Burger

rejected any implication that the majority opinion “recognize[d] sweeping immunity for a



       13
          When discussing Fitzgerald, the defendant repeatedly relies on (Mot. 18, 19, 22, 23, 26,
37, 42) an amicus brief filed by the United States in a recent civil case, but that reliance is
misplaced because that brief addressed “only a President’s liability in a private suit for damages”
and “d[id] not express any view regarding the potential criminal liability of any person for the
events of January 6, 2021, or acts connected with those events.” Brief for the United States as
Amicus Curiae, Blassingame v. Trump, Nos. 22-5069, 22-7030, 22-7031, at 3 n.1 (D.C. Cir.) (filed
Mar. 2, 2023) (internal quotation marks omitted).

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President for all acts”; instead, the former president’s immunity recognized in that case was

“limited to civil damages claims.” Fitzgerald, 457 U.S. at 759 (Burger, C.J., concurring). Writing

for three other Justices in dissent, Justice White observed that no party had contended that a former

president “is immune from criminal prosecution in the courts under the criminal laws enacted by

Congress or by the States,” and any claim to that effect would not be “credible.” Id. at 780 (White,

J., dissenting). In sum, though the Supreme Court fractured over whether absolute presidential

immunity from civil damages for a former president’s official acts in office was appropriate, it was

unanimous in recognizing that the broad public interest in the enforcement of criminal law

militated against granting a former president absolute immunity from federal criminal prosecution.

       Contrary to the defendant’s passing suggestion (Mot. 10 n.2), the distinction noted in

Fitzgerald between the civil and criminal context “is not just a matter of formalism.” Cheney v.

U.S. Dist. Court for Dist. of Columbia, 542 U.S. 367, 384 (2004). The absolute immunity of

certain government officials from civil actions for damages finds no analogue under criminal law.

See Expeditions Unlimited Aquatic Enterprises, Inc. v. Smithsonian Inst., 566 F.2d 289, 305 (D.C.

Cir. 1977) (Wilkey, J., concurring dubitante) (noting absolute civil immunity “does not foreclose

any possible criminal prosecutions of government officials who violate the law”); cf. Turkiye Halk

Bankasi A.S. v. United States, 598 U.S. 264, 272 (2023) (holding that the Foreign Sovereign

Immunities Act of 1976, 28 U.S.C. §§ 1330, 1602 et seq., “does not grant immunity to foreign

states or their instrumentalities in criminal proceedings”). Although the interests at stake in civil

litigation are “far from negligible,” Cheney, 542 U.S. at 384, the courts’ “primary constitutional

duty” is “to do justice in criminal prosecutions,” Nixon, 418 U.S. at 707. The Supreme Court in

Nixon emphasized that “our historic[al] commitment to the rule of law . . . is nowhere more

profoundly manifest than in our view that ‘the twofold aim [of criminal justice] is that guilt shall

not escape or innocence suffer.’” Id. at 708-09 (quoting Berger v. United States, 295 U.S. 78, 88

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(1935)). Extending immunity recognized for a former president in civil cases to the “much

weightier” criminal context, Cheney, 542 U.S. at 384, would undermine that bedrock commitment

to the rule of law.

        Relatedly, the distinction for purposes of civil immunity analysis between “official” and

“unofficial” conduct, see Clinton, 520 U.S. at 694, does not translate into the federal criminal

context. Stated concisely, “[c]riminal conduct is not”—and can never be—“part of the necessary

functions performed by public officials.” Isaacs, 493 F.2d at 1144. To hold otherwise would be

to “carry a judicially fashioned privilege so far as to immunize criminal conduct proscribed by an

Act of Congress.” Gravel v. United States, 408 U.S. 606, 627 (1972); see O’Shea v. Littleton, 414

U.S. 488, 503 (1974) (“[T]he judicially fashioned doctrine of official immunity does not reach ‘so

far as to immunize criminal conduct proscribed by an Act of Congress.’”) (quoting Gravel, 408

U.S. at 627). Consistent with that principle, courts of appeals have rejected arguments by federal

judges seeking immunity from federal criminal prosecution even where the conduct in question

implicated their official responsibilities as judges. See, e.g., Claiborne, 727 F.2d at 845; United

States v. Hastings, 681 F.2d 706, 710-11 (11th Cir. 1982); Isaacs, 493 F.2d at 1143-44.

                       c.      Fitzgerald’s analogy to judges and prosecutors—who are not
                               immune from criminal prosecution—applies here.

        The defendant correctly notes (Mot. 17-18) that the immunity granted to presidents is in

some respects analogous to the immunity granted to judges and prosecutors. But his claim that

such immunity also protects judges and prosecutors—and by extension, former presidents—from

criminal liability overlooks binding precedent and settled historical practice.

        Throughout the majority opinion in Fitzgerald, the Court likened the absolute civil

immunity for a former president to common-law immunity accorded judges and prosecutors. See

457 U.S. at 746-48 (discussing prior cases holding that “the especially sensitive duties of certain



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officials—notably judges and prosecutors—required the continued recognition of absolute

immunity” and after “[a]pplying the principles of our cases to claims of this kind,” holding “that

petitioner, as a former President of the United States, is entitled to absolute immunity from

damages liability predicated on his official acts”); id. at 751-52 (“As is the case with prosecutors

and judges—for whom absolute immunity now is established—a President must concern himself

with matters likely to ‘arouse the most intense feelings.’”); id. at 758 (“For the President, as for

judges and prosecutors, absolute immunity merely precludes a particular private remedy for

alleged misconduct in order to advance compelling public ends.”); see also id. at 763-64 (Burger,

C.J., concurring) (“Far from placing a President above the law, the Court’s holding places a

President on essentially the same footing with judges and other officials whose absolute immunity

we have recognized.”). And when subsequently describing Fitzgerald, the Court recognized the

parallel between presidential immunity from civil damages liability and comparable immunity for

prosecutors and judges. See Trump, 140 S. Ct. at 2426 (“But Fitzgerald did not hold that

distraction was sufficient to confer absolute immunity. We instead drew a careful analogy to the

common law absolute immunity of judges and prosecutors, concluding that a President, like those

officials, must ‘deal fearlessly and impartially with the duties of his office’—not be made ‘unduly

cautious in the discharge of [those] duties’ by the prospect of civil liability for official acts.”).

        That parallel is instructive because the Supreme Court has reasoned that, notwithstanding

their absolute immunity from civil liability, prosecutors and judges are “subject to criminal

prosecutions as are other citizens.” Dennis v. Sparks, 449 U.S. 24, 31 (1980) (discussing judges);

see Imbler v. Pachtman, 424 U.S. 409, 429 (1976) (observing, in a case holding that prosecutors

are absolutely immune from civil damages liability, that the Supreme Court had “never suggested

that the policy considerations which compel civil immunity for certain governmental officials also

place them beyond the reach of the criminal law”); see also Mireles v. Waco, 502 U.S. 9, 9, 10 n.1

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(1991) (per curiam) (noting that while “[a] long line of this Court’s precedents acknowledges that,

generally, a judge is immune from a suit for money damages,” the Court has also “recognized that

a judge is not absolutely immune from criminal liability”). Accordingly, courts have declined to

recognize immunity in cases of federal judges criminally prosecuted for violations of federal law,

even when the charges involved official, rather than private, conduct. See, e.g., Claiborne, 727

F.2d at 845; Hastings, 681 F.2d at 710-11; Isaacs, 493 F.2d at 1143-44. Just as an active judge

“no less than any other man is subject to the processes of the criminal law,” Hastings, 681 F.2d at

711, so too is a former president.

       Indeed, courts recognizing immunity from civil liability for certain officials, such as judges

and prosecutors, have operated from the premise that civil immunity did not erect an absolute

shield for misconduct precisely because those officials were subject to criminal prosecution. See

Imbler, 424 U.S. at 428-29 (“We emphasize that the immunity of prosecutors from liability in suits

under § 1983 does not leave the public powerless to deter misconduct or to punish that which

occurs.”); Gillock, 445 U.S. at 372-73 (“[T]he cases in this Court which have recognized an

immunity from civil suit for state officials have presumed the existence of federal criminal liability

as a restraining factor on the conduct of state officials.”); see also Fitzgerald, 457 U.S. at 757 n.38

(“The presence of alternative remedies has played an important role in our previous decisions in

the area of official immunity.”). 14 In holding that a federal judge’s civil immunity did not also

insulate him from federal prosecution, the Eleventh Circuit reasoned that the “miniscule increment

in judicial independence that might be derived” from a rule of absolute judicial immunity “would


       14
           The defendant suggests (Mot. 13) that the omission of criminal prosecution from
Fitzgerald’s list of alternative remedies is “[n]otabl[e].” But as explained above, Fitzgerald
acknowledged a different—and greater—public interest in criminal prosecution. See 457 U.S. at
754 n.37. Moreover, the Court’s discussion of alternative remedies included impeachment, id. at
757 & n.38, which, as the Impeachment Judgment Clause makes evident, does not foreclose and
in fact expressly contemplates criminal prosecution.

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be outweighed by the tremendous harm that the rule would cause to another treasured value of our

constitutional system,” namely that no man is above the law. See Hastings, 681 F.2d at 711;

accord id. at 711 n.17 (“The rule of absolute immunity from criminal prosecution of active federal

judges for acts committed in their official capacities poses too great a threat to the public interest

in the rule of law.”).

        The defendant is therefore correct (Mot. 17) that judicial immunity is an appropriate

analogue here but wrong to conclude (Mot. 17-18) that judges are immunized against criminal

prosecution. Whatever the English common-law approach to judicial immunity in the criminal

context, compare J. Randolph Block, Stump v. Sparkman and the History of Judicial Immunity,

1980 Duke L.J. 879, 884 (1980) (suggesting that a “litigant” could not “make a judge civilly or

criminally liable for an abuse of his jurisdiction”) (internal quotation marks omitted), with id. at

888 (noting that justices of the peace had civil immunity but could “be punished criminally”)

(internal quotation marks omitted), the Supreme Court and federal courts of appeals have

uniformly rejected any claim or suggestion of judicial immunity from criminal prosecution. See

Dennis, 449 U.S. at 31; Mireles, 502 U.S. at 10 n.1; Ex Parte Commonwealth of Virginia, 100 U.S.

339, 348 (1879); Claiborne, 727 F.2d at 845; Hastings, 681 F.2d at 710-11; Isaacs, 493 F.2d at

1143-44; 46 Am. Jur. 2d Judges § 77 (2023) (“The doctrine of judicial immunity is applicable only

to civil actions for judicial acts and does not render judges immune to criminal proceedings in the

event they are charged with the commission of a crime. Judges are subject to criminal prosecutions

as are other citizens and may be held responsible for the violation of a criminal statute to the same

extent.”) (footnotes omitted); see also 28 U.S.C. § 364 (statute addressing the effect of a federal

judge’s felony conviction). As noted above, judges have regularly faced criminal prosecution. See

also United States v. Collins, 972 F.2d 1385, 1392-94, 1415 (5th Cir. 1992) (affirming criminal

conviction of federal judge who accepted bribes in exchange for agreeing to impose a lenient

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sentence); United States v. Nixon, 816 F.2d 1022, 1031 (5th Cir. 1987) (affirming criminal

conviction of federal judge); United States v. Manton, 107 F.2d 834, 838, 850 (2d Cir. 1939) (same

for federal judge who “would accept sums of money in return for corrupt judicial action by him

favorable to the interests of those who paid”).

       The defendant’s reliance on United States v. Chaplin, 54 F. Supp. 926 (S.D. Cal. 1944), to

support the claim (Mot. 17) that courts have “universally rejected criminal charges against judges

for their judicial acts” is misleading and disingenuous. Chaplin—an out-of-circuit district court

decision from nearly 80 years ago whose reasoning is opaque—is apparently the sole case that

conferred immunity on a judge facing criminal prosecution. See 54 F. Supp. at 934-35. But even

in reaching that one-of-a-kind result, the district court in Chaplin recognized that “[t]here is no

judge, from the judge of the Supreme Court of the United States at Washington, to a justice of the

peace in the smallest township of the state, who, acting on any judicial matter from corruption or

from malice, but becomes amenable to the criminal law the same as any other man.” Id. at 930;

accord id. at 933 (“[W]here a judge violates a criminal statute, he is held to the same responsibility

as any citizen.”). Chaplin’s analysis—which none of the courts affirming criminal convictions

cited above has followed—does not survive the Supreme Court’s more recent pronouncements on

judicial immunity in the criminal context, see Timothy M. Stengel, Absolute Judicial Immunity

Makes Absolutely No Sense: An Argument for an Exception to Judicial Immunity, 84 Temp. L.

Rev. 1071, 1085 (2012) (arguing that the Supreme Court would not “adopt the reasoning of the

Chaplin court” because the Court has expressly recognized that the civil-rights law charged in

Chaplin can “be used to prosecute judges”), but even if it did, this Court should not extend its

outlier reasoning to the context of presidential immunity.




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                        d.      Adequate safeguards protect the unique role of the presidency
                                without immunizing a former president from criminal
                                prosecution.

        The defendant’s attempt (Mot. 18-21) to transplant the policy rationales that Fitzgerald

identified as supporting absolute immunity from civil liability into the criminal context lacks merit.

For one, the defendant’s suggestion that an incumbent president would be inhibited by the prospect

of future federal criminal prosecution lacks any historical or empirical support; indeed, it is at least

equally plausible that the prospect of future criminal prosecution would have a salutary, not a

chilling, effect. See Harlow v. Fitzgerald, 457 U.S. 800, 819 (1982) (“Where an official could be

expected to know that certain conduct would violate statutory or constitutional rights, he should

be made to hesitate.”).      Throughout American history, there have been federal criminal

prosecutions of high-ranking officials from all three branches of the federal government—

including the Vice President, members of the Cabinet, Senators, Representatives, and judges—as

well as of governors, mayors, sheriffs, and more. Far from chilling public officials in the exercise

of their duties, these prosecutions have helped ensure that officials and citizens alike know that

ours is a system based on the rule of law, applicable without fear or favor to even the most powerful

public officials.

        Furthermore, the Impeachment Judgment Clause entirely undermines the defendant’s

claim (Mot. 10) that a former president’s immunity from criminal prosecution should be

“absolute”—as the defendant ultimately acknowledges (Mot. 11)—because a former president

who has been impeached and convicted will be liable to criminal prosecution. It follows that at

least two of the speculative concerns the defendant identifies (Mot. 18-20)—that a president will

be constrained with respect to his “especially sensitive duties” and his need to take “bold and

unhesitating action” (internal quotation marks omitted) if he fears prosecution—would remain

even under the defendant’s view because a former president would still be subject to criminal


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prosecution following impeachment. Thus, even on his own terms the defendant is unable to

establish that “absolute immunity” is necessary or that meaningful functional benefits of such

immunity for the presidency could justify its significant costs in terms of potential impunity,

perverse incentives, and the undermining of the rule of law.

       Indeed, no sound policy supports granting a former president blanket immunity from

criminal prosecution for the time that he or she served as president. The OLC recognized three

burdens that counsel against permitting the criminal prosecution of a sitting president: (1)

imposition of a prison term, which “would make it physically impossible for the President to carry

out his duties”; (2) the “public stigma and opprobrium occasioned by the initiation of criminal

proceedings, which could compromise the President’s ability to fulfill his constitutionally

contemplated leadership role with respect to foreign and domestic affairs”; and (3) the “mental

and physical burdens of assisting in the preparation of a defense for the various stages of the

criminal proceedings, which might severely hamper the President’s performance of his official

duties.” A Sitting President’s Amenability to Indictment and Criminal Prosecution, 24 Op. O.L.C.

at 246. None applies to a former president, who no longer has “duties” or a “leadership role” with

which a criminal prosecution would interfere. The argument that a president “is almost inevitably

going to do a worse job as President” if concerned about “an ongoing criminal investigation,” Brett

M. Kavanaugh, Separation of Powers During the Forty-Fourth Presidency and Beyond, 93 Minn.

L. Rev. 1454, 1461 (2009), is immaterial in the case of a former president. It follows, as the OLC

has observed, that “[r]ecognizing an immunity from prosecution for a sitting President would not

preclude such prosecution once the President’s term is over or he is otherwise removed from office

by resignation or impeachment.” A Sitting President’s Amenability to Indictment and Criminal

Prosecution, 24 Op. O.L.C. at 255; see also id. at 257 (noting that unlike the “immunities claimed”




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in Nixon and Fitzgerald, “the immunity from indictment and criminal prosecution for a sitting

President would generally result in the delay, but not the forbearance, of any criminal trial”).

       Bestowing blanket immunity from criminal prosecution on a former president would also

create troubling incentives. A president wholly immune from criminal prosecution for any conduct

undertaken while in office—particularly one in a second term who would not face voters in another

presidential election—could commit crimes with impunity that benefit himself, endanger the

republic, or both. See Claire O. Finkelstein & Richard W. Painter, Presidential Accountability and

the Rule of Law: Can the President Claim Immunity If He Shoots Someone on Fifth Avenue?, 24

U. Pa. J. Const. L. 93, 193 (2022) (“A President who is immune from criminal prosecution thus

poses a very real danger that he will commit crimes that will secure not only his continuation in

office, but also thereby allow him to protect himself against impeachment during his (next) term

and immunize himself against prosecution once he is no longer in office.”). Immunity from

criminal prosecution would be particularly inappropriate where, as here, the former president is

alleged to have engaged in criminal conduct aimed at overturning the results of a presidential

election in order to remain in office.

       Further, the Supreme Court’s concern in Fitzgerald that a former president subject to civil

suit could become “an easily identifiable target” for “highly intrusive” private lawsuits from

“countless people,” 457 U.S. at 753, 756, or “vexatious” civil actions (Mot. 20-21) does not

translate to the criminal context. Courts generally apply a strong presumption of prosecutorial

regularity in the criminal context precisely because prosecutors adhere to a strict code that prohibits

vexatious or abusive prosecutions. See United States v. Armstrong, 517 U.S. 456, 464 (1996)

(absent “clear evidence to the contrary, courts presume that [prosecutors] have properly discharged

their official duties.”) (quoting United States v. Chemical Foundation, Inc., 272 U.S. 1, 14-15




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(1926)). 15 Further, former presidents “enjoy the same protection as do all citizens from vindictive

[or selective] prosecution.” Hastings, 681 F.2d at 711; see also 167 Cong. Rec. S607 (daily ed.

Feb. 9, 2021) (the defendant arguing at his impeachment trial that criminal investigation and

prosecution would be more “appropriate” than impeachment, because trial in the Senate “does not

and cannot offer the safeguards of the judicial system”). Additionally, unlike a civil lawsuit, a

federal felony prosecution of a former president may be brought only on the basis of an indictment

by a grand jury, which is “prohibited from engaging in ‘arbitrary fishing expeditions’ and initiating

investigations ‘out of malice or an intent to harass.’” Trump, 140 S. Ct. at 2428 (quoting United

States v. R. Enterprises, Inc., 498 U.S. 292, 299 (1991)); see A Sitting President’s Amenability to

Indictment and Criminal Prosecution, 24 Op. O.L.C. at 250 (noting that a criminal indictment “is

a public rather than private allegation of wrongdoing reflecting the official judgment of a grand

jury acting under the general supervision of the District Court”).

       Complementing those procedural protections are demanding mens rea standards required

to prove criminal offenses and evidentiary limitations that would come into play with respect to

any prosecution of a former president. The offenses in this case, for example, require the

Government to prove beyond a reasonable doubt that the defendant undertook the charged conduct

with criminal intent. See Hammerschmidt v. United States, 265 U.S. 182, 188 (1924) (defraud-

clause violation of Section 371 requires proof that the defendant agreed with others to obstruct a

lawful governmental function through deceitful and dishonest means); United States v. North, 910

F.2d 843, 881-82 (D.C. Cir. 1990) (per curiam) (obstruction of an official proceeding requires


       15
          In addition, the Supremacy Clause, U.S. Const. art. VI, cl. 2, prevents state prosecutors
“from interfering with a President’s official duties.” Trump, 140 S. Ct. at 2428 (internal quotation
marks omitted); see Tennessee v. Davis, 100 U.S. 257, 263 (1879) (a state government may not
“obstruct [the] authorized officers” of the federal government). To the extent a federal officer
faces prosecution in state court, that officer may remove the case to federal court where the
prosecution is “for or relating to any act under color of [federal] office.” 28 U.S.C. § 1442(a)(1).

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proof that the defendant acted with corrupt purpose by seeking an unlawful or improper benefit or

advantage) (citing Ballentine’s Law Dictionary 276 (3d ed. 1969)), opinion withdrawn and

superseded in part on reh’g, 920 F.2d 940 (D.C. Cir. 1990) (per curiam); id. at 943 (Silberman, J.,

concurring in part and dissenting in part) (corrupt purpose can be shown through intending the use

of unlawful means); Arthur Andersen LLP v. United States, 544 U.S. 696, 706-07 (2005) (corrupt

purpose can be shown through dishonesty); United States v. Morrison, 98 F.3d 619, 630 (D.C. Cir.

1996) (corrupt purpose exists where defendant violated a legal duty); Screws v. United States, 325

U.S. 91, 105 (1945) (violation of Section 241 requires proof that the defendant acted willfully,

which means to “act in open defiance or in reckless disregard of a constitutional requirement which

has been made specific and definite”); Anderson v. United States, 417 U.S. 211, 223 (1974) (under

Section 241, “the prosecution must show that the offender acted with a specific intent to interfere

with the federal rights in question”). And the very process of obtaining evidence to establish

whether a former president had a culpable mens rea would often require a showing of sufficient

need to overcome any claim of executive privilege. See Nixon, 418 U.S. at 712; In re Sealed Case,

121 F.3d 729, 754 (D.C. Cir. 1997). These formidable safeguards counsel strongly against the

need to extend a former president’s civil immunity to the criminal context.

       Nor would declining to recognize a novel immunity from criminal prosecution tantamount

to the civil immunity conferred in Fitzgerald undermine other substantive protections available to

a former president. Courts construe statutes applied to a president for conduct during the

presidency narrowly “[o]ut of respect for the separation of powers and the unique constitutional

position of the President.” Franklin v. Massachusetts, 505 U.S. 788, 800-01 (1992). That

approach reflects two principles: statutes should be interpreted to avoid serious constitutional

questions, and Congress should not be assumed to have altered the constitutional allocation of

powers between branches without clear assurance that it intended the result. See Walter Dellinger,

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The Constitutional Separation of Powers Between the President and Congress, 20 Op. O.L.C. 124,

178 (May 7, 1996). Relying on those principles, for example, the Department of Justice has

concluded that three criminal statutes could not be applied against the president (or, in two cases,

other Executive Branch officials). See Laurence H. Silberman, Conflict of Interest Problems

Arising out of the President’s Nomination of Nelson A. Rockefeller to be Vice President under the

Twenty-Fifth Amendment to the Constitution, at 5 (Aug. 28, 1974) (criminal conflict-of-interest

statute, 18 U.S.C. § 208); Theodore B. Olson, Prosecution for Contempt of Congress of an

Executive Branch Officer Who Has Asserted a Claim of Executive Privilege, 8 Op. O.L.C 101,

102, 140 (May 30, 1984) (the criminal contempt-of-Congress prohibition, 2 U.S.C. § 192);

William Barr, Constraints Imposed by 18 U.S.C. § 1913 on Lobbying Efforts, 13 Op. O.L.C. 300,

305 (Sept. 28, 1989) (the Anti-Lobbying Act, 18 U.S.C. § 1913).

       At the same time, just as application of the federal bribery statute “raises no separation of

powers question, let alone a serious one,” because “[t]he Constitution confers no power in the

President to receive bribes,” so too here the charged statutes raise no separation-of-powers issues

because the Constitution grants a president no power to engage in a criminal conspiracy to defeat

a federal government function through deceit, corruptly obstruct a congressional proceeding, or

violate others’ constitutional right to vote. 16 Walter Dellinger, Application of 28 U.S.C. § 458 to

Presidential Appointments of Federal Judges, 19 Op. O.L.C. 350, 357 n.11 (Dec. 18, 1995); see

also Conflict of Interest Problems Arising out of the President’s Nomination of Nelson A.

Rockefeller to be Vice President under the Twenty-Fifth Amendment to the Constitution, at 5



       16
          That is particularly true where, as here, the defendant offers no plausible argument that
the federal government function and official proceeding that he is charged with obstructing
envision a role for the president. See United States v. Rhodes, 610 F. Supp. 3d 29, 41 (D.D.C.
2022) (Vice President in role as President of the Senate and Congress execute the “laws governing
the transfer of power”).

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(concluding that separation-of-powers doctrine would not preclude criminal prosecution of the

president under the federal bribery statute, 18 U.S.C. § 201, because given the “nature of the

offense charged, no one, however exalted his position, should safely feel that he is above the law”).

       C.      Creating a Novel Immunity from Criminal Prosecution for a Former
               President Would Pose Significant Challenges, But at a Minimum Any Such
               Immunity Should Be Narrower Than Immunity from Civil Liability and
               Would Be Inapplicable Here.

       For all the reasons explained above, no immunity should shield the defendant from federal

prosecution for criminal conduct undertaken while he served as president. An additional basis not

to recognize an unprecedented immunity from criminal prosecution for a former president’s—or

any federal official’s—conduct while in office are the significant definitional, substantive, and

procedural challenges that any such novel immunity would pose. The defendant bears the burden

of “showing that public policy requires an exemption of that scope,” Butz, 438 U.S. at 506;

Forrester v. White, 484 U.S. 219, 224 (1988), and he would not be able to carry that burden here.

               1.      The scope of any immunity in this context would have to account for
                       the substantially greater public interest in federal criminal
                       prosecutions and other relevant differences from private civil suits.

       If the Court were to adopt a heretofore unrecognized immunity from criminal prosecution

for former presidents, that immunity should balance interests differently than in the civil context

at issue in Fitzgerald, operating in a manner that “maintain[s] the[] proper balance” of the

separation of powers and “vindicate[s] the public interest in an ongoing criminal prosecution,”

Fitzgerald, 457 U.S. at 754; see Harlow, 457 U.S. at 810 (emphasizing the “‘functional’ approach

to immunity law”). Although the “lesser public interest” at issue in a “merely private suit for

damages,” Fitzgerald, 457 U.S. at 754 & n.37, does not justify subjecting a president to civil

liability, immunity doctrine in the “much weightier” criminal context, Cheney, 542 U.S. at 384, if

it exists at all, must weigh the strong public interest in the rule of law and reflect the courts’



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“primary constitutional duty . . . to do justice in criminal prosecutions,” Nixon, 418 U.S. at 707,

particularly, where, as here, a “judicially fashioned doctrine of official immunity” would risk

“reach[ing] ‘so far as to immunize criminal conduct proscribed by an Act of Congress.’” O’Shea,

414 U.S. at 503 (quoting Gravel, 408 U.S. at 627).

       Any such immunity might assess the asserted presidential authority to act, if any. Where

the criminal statute in question directly impinged on, or a generally applicable criminal statute was

applied to, an area of responsibility where the president’s power is “both ‘exclusive’ and

‘conclusive’ on the issue,” Zivotofsky v. Kerry, 576 U.S. 1, 10 (2015) (citing Youngstown Sheet &

Tube v. Sawyer, 343 U.S. 579, 637-38 (1952) (Jackson, J., concurring)), such as the president’s

authority to recognize foreign nations, id. at 9, 28, or to make a recess appointment, U.S. Const.

art. II, § 2, cl. 3, or where application of a criminal statute would “prevent[] the Executive Branch

from accomplishing its constitutionally assigned functions,” Nixon v. Adm’r of Gen. Servs., 433

U.S. 425, 443 (1977), that fact could weigh in favor of a finding of immunity in limited

circumstances. But where the asserted presidential authority lay further from the president’s core

“line of duty,” Barr v. Matteo, 360 U.S. 564, 575 (1959) (plurality opinion), or his power was “at

its lowest ebb,” Youngstown Sheet & Tube, 343 U.S. at 637 (Jackson, J., concurring), the

justification for immunity would be more attenuated. For example, where a president was carrying

out predominantly partisan electioneering activities that related only incidentally to his official

activities as president, see Theodore B. Olson, Payment of Expenses Associated with Travel by the

President and Vice President, 6 O.L.C. Op. 214, 215 (Mar. 24, 1982), no immunity from criminal

prosecution should presumptively attach.

       Another consideration should be the intent or motive animating the conduct in question.

Although absolute civil immunity generally precludes judicial inquiry into whether a defendant

acting within the scope of his duties acted “for a forbidden purpose,” Fitzgerald, 457 U.S. at 756,

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immunity in the criminal context should not preclude such an inquiry. For example, where a statute

prohibits engaging in certain conduct for a corrupt purpose, the statute’s mens rea requirement

tends to align, rather than conflict, with the president’s Article II duty to “take Care that the Laws

be faithfully executed,” U.S. Const. art. II, § 3, which would weigh heavily against the need for

immunity. To illustrate, although the president’s power to grant pardons is exclusive and not

subject to congressional regulation, see United States v. Klein, 80 U.S. (13 Wall.) 128, 147-48

(1872), criminal immunity should not shield the corrupt use of a presidential pardon—which

plainly constitutes “anything of value” for purposes of the federal bribery statute, see 18 U.S.C.

§ 201(b)(3)—to induce another person to testify falsely or not to testify at all in a judicial,

congressional, or agency proceeding. Just as the Speech or Debate Clause, U.S. Const. art. I, § 6,

cl. 1, absolutely protects legislative acts, but not a legislator’s “taking or agreeing to take money

for a promise to act in a certain way . . . for it is taking the bribe, not performance of the illicit

compact, that is a criminal act,” United States v. Brewster, 408 U.S. 501, 526 (1972), the promise

of a pardon to corruptly influence testimony would not be a constitutionally immunized act.

Similarly, in those instances where the “line” between a president’s “personal and official affairs”

is “clear,” Trump v. Mazars USA, LLP, 140 S. Ct. 2019, 2034 (2019), not “elusive and difficult to

discern,” In re Lindsey, 158 F.3d 1263, 1286 (D.C. Cir. 1998) (per curiam) (Tatel, J., concurring

in part and dissenting in part), and it is plain that the president is acting corruptly to further his

own personal benefit without regard to the best interests of the nation, no immunity from criminal

prosecution should apply.

               2.      The defendant cannot establish that he would be entitled to dismissal
                       of the indictment under any plausible view of a former president’s
                       immunity from criminal prosecution.

       Incorporating these considerations into a workable test would present line-drawing and

administrability challenges. These complications, as well as the existing protections described


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above, see supra 30-33, counsel against creating “some [new] form of immunity” from criminal

prosecution, Fitzgerald, 457 U.S. at 744. At a minimum, the defendant has not carried his burden

of showing that this is the sort of “exceptional situation[]” in which the recognition of an immunity

from criminal prosecution is “essential for the conduct of the public business.” Butz, 438 U.S. at

507.

       The indictment alleges a conspiracy to overturn the presidential election results, ECF No.

1 at ¶ 7, through targeting state officials, id. at ¶¶ 13-52; creating fraudulent slates of electors in

seven states, id. at ¶¶ 53-69; leveraging the Department of Justice in the effort to target state

officials through deceit and substitute the fraudulent elector slates for the legitimate ones, id. at ¶¶

70-85; attempting to enlist the Vice President to fraudulently alter the election results during the

certification proceeding on January 6, 2021, and directing supporters to the Capitol to obstruct the

proceeding, id. at ¶¶ 86-105; and exploiting the violence and chaos that transpired at the United

States Capitol on January 6, 2021, id. at ¶¶ 106-124. Allowing a former President to face criminal

prosecution for that alleged conduct would not encroach on an Article II power, let alone a core

presidential responsibility. Instead, the allegations focus principally on the defendant’s actions as

a candidate for elective office. Furthermore, the indictment alleges that the defendant acted

deceitfully or corruptly to secure a personal benefit to himself as a presidential candidate, not to

carry out constitutional obligations entrusted to the presidency. Immunity should not foreclose the

Government from shouldering the burden to prove those demanding standards, see supra 31-32,

beyond a reasonable doubt at trial. The defendant’s contrary arguments are unpersuasive.

       First, the defendant’s counterarguments (Mot. 27-45) rest on misrepresentations of the

indictment’s allegations.    Although the defendant acknowledges that the indictment “must be

accepted as true at this stage of the proceedings,” Mot. 2 (quoting United States v. Weeks, 636 F.

Supp. 3d 117, 120 (D.D.C. 2022)), his ensuing discussion consistently misstates the allegations in

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a manner designed to fit his capacious theory of presidential authority. For example, the defendant

identifies (Mot. 3-4, 28-33) one of the “five basic categories” of allegations as his “public

statements about the administration of the federal election” and “Tweets about the administration

of the federal election.” Id. at 3. That description mischaracterizes the indictment, as described

in the preceding paragraph. Moreover, the fact that the defendant’s public statements and tweets

furthered the alleged conspiracy is uncontroversial because courts have long recognized that

“constitutionally protected speech may nevertheless be an overt act in a conspiracy charge.”

United States v. Donner, 497 F.2d 184, 192 (7th Cir. 1974); United States ex rel. Epton v. Nenna,

446 F.2d 363, 368 (2d Cir. 1971); United States v. Lanier, 920 F.2d 887, 893 n.48 (11th Cir. 1991);

see also United States v. Vascular Sols., Inc., 181 F. Supp. 3d 342, 345 (W.D. Tex. 2016)

(Lamberth, J.) (sitting by designation) (finding “ample support” to reject defendants’ contention

that “truthful speech” cannot be “an act taken to effect the object of the conspiracy”) (internal

quotation marks omitted); see also Wisconsin v. Mitchell, 508 U.S. 476, 489 (1993) (“[A]

defendant’s previous declarations or statements [are] commonly admitted in criminal trials subject

to evidentiary rules dealing with relevancy, reliability, and the like.”).

       Similarly, the defendant’s conclusory assertions (Mot. 3, 6, 28, 33, 35, 37, 39, 42) that the

allegations involve his “official duties” rely entirely on his recasting of what the indictment in fact

alleges. In his view, for example, the indictment encompasses merely “[m]eeting with state

officials about the administration of a federal election,” Mot. 35, when the actual allegations detail

“knowingly false claims of election fraud aimed at interfering with the ascertainment of and voting

by” electors made by the defendant and his coconspirators in several targeted states. ECF No. 1

at ¶ 15; see id. at ¶¶ 14-19 (Arizona); id. at ¶¶ 20-33 (Georgia); id. at ¶¶ 34-41 (Michigan); id. at

¶¶ 42-46 (Pennsylvania); id. at ¶¶ 47-52 (Wisconsin). The defendant further posits (Mot. 39) that

the indictment encompasses his communications with the Vice President and other legislators

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“about the exercise of their official duties regarding federal election certification.” That is a gross

mischaracterization. The indictment in fact alleges that the defendant and his conspirators sought

to “enlist the Vice President to use his ceremonial role at the certification to fraudulently alter the

election results,” ECF No. 1 at ¶ 86; see also id. at ¶¶ 86-105, and then sought to “exploit the

violence and chaos at the Capitol by calling lawmakers to convince them, based on knowingly

false claims of election fraud, to delay the certification,” id. at ¶ 119. Additionally, the defendant’s

claim to have been carrying out his “official duties” entirely ignores that, as a “candidate for re-

election,” ECF No. 1 at ¶ 1, he is alleged to have conspired to “overturn the legitimate results of”

a “presidential election,” id. at ¶ 7, and to have done so with at least five others who had absolutely

no role in the federal government, including private attorneys and a political consultant, id. at

¶ 8(a), (b), (c), (e), (f).   While the defendant is certainly entitled to challenge those allegations at

trial, he is not permitted to reframe them in a dismissal motion into a version that more

conveniently supports his legal arguments.

         The defendant’s arguments likewise fail because they describe presidential duties at a

stratospheric level of generality. See Banneker Ventures, LLC v. Graham, 798 F.3d 1119, 1141

(D.C. Cir. 2015) (warning that “[a]t a high enough level of generality, almost any act that has any

relationship to an overarching duty . . . will be immunized”). Take, for example, the defendant’s

repeated contention (Mot. 22, 32-34, 38) that his conduct between the election and January 6

broadly fell within his Article II “take-Care” power. The Constitution vests in the president “[t]he

executive Power” and directs, among other things, that the president “take Care that the Laws be

faithfully executed.” U.S. Const. art. II, § 1, cl. 1; U.S. Const. art. II, § 3; see also id. at art. II, § 2,

cl. 2 (empowering the president to appoint all officers with the advice and consent of the Senate);

see Lucia v. SEC, 138 S. Ct. 2044, 2051 n.3 (2018). The concept of “faithful execution” connotes

the use of power in the interest of the public, not in the office holder’s personal interests. See 1

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Samuel Johnson, A Dictionary of the English Language 763 (1755) (“faithfully” def. 3: “[w]ith

strict adherence to duty and allegiance”). The principal case on which the defendant relies (Mot.

35-36, 38, 43-44) for his expansive conception of the Take Care Clause, In re Neagle, 135 U.S. 1

(1890), cannot bear the weight of his arguments. In Neagle, the Supreme Court held that the Take

Care Clause authorized the appointment of a deputy marshal to protect a Supreme Court Justice

while traveling on circuit even in the absence of congressional authorization. Id. at 67-68; see

Logan v. United States, 144 U.S. 263, 294 (1892) (describing Neagle’s holding); Youngstown

Sheet & Tube, 343 U.S. at 661 n.3 (Clark, J., concurring) (same). Before reaching that conclusion,

the Court in Neagle posed as a rhetorical question—which the defendant cites several times (Mot.

35, 38, 43, 44)—whether the president’s duty under the Take Care Clause is “limited to the

enforcement of acts of congress or of treaties of the United States according to their express terms;

or does it include the rights, duties, and obligations growing out of the constitution itself, our

international relations, and all the protection implied by the nature of the government under the

constitution?” 135 U.S. at 64. From the undisputed proposition that the president’s powers under

Article II are not limited only to laws and treaties, it does not follow, as the defendant seems to

imply, that every “right, duty, or obligation[]” under the Constitution is necessarily coterminous

with the president’s powers under the Take Care Clause. Under that theory, for example, the

president could superintend Congress’s constitutional obligation to keep a journal of its

proceedings, U.S. Const. art. I, § 5, cl. 3, or the judiciary’s duty to adjudicate cases and

controversies, U.S. Const. art. III, § 2, cl. 1.

        D.      Even If a Former President Were Entitled to Immunity from Criminal
                Prosecution Comparable to His Immunity from Civil Liability, Dismissal Is
                Not Warranted Here.

        Dismissal is at a minimum unwarranted because the defendant has no remotely viable claim

that all of the indictment’s allegations involve acts “within the ‘outer perimeter’ of his official


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responsibility.” Fitzgerald, 457 U.S. at 756. For example, allegations that the defendant “acted

purely in his capacity as a candidate for office” by, among other things, “directing his campaign

staff” to further his efforts to overturn the election results do not fall within the outer perimeter of

the presidency. See Brief for the United States as Amicus Curiae, Blassingame v. Trump, Nos. 22-

5069, 22-7030, 22-7031, at 22 (D.C. Cir.) (filed Mar. 2, 2023). That is particularly true with

respect to allegations that the defendant conspired with and directed individuals outside the

government to facilitate his effort to turn the election in his favor as a candidate. See, e.g., ECF

No. 1 at ¶¶ 8(a), 13 (alleging that the defendant “turned to Co-Conspirator 1,” a private attorney

who “was willing to spread knowingly false claims and pursue strategies that the Defendant’s 2020

re-election campaign attorneys would not,” to “spearhead his efforts going forward to challenge

the election results”); id. at ¶¶ 8(b), 30 (alleging that the defendant and Co-Conspirator 2, a private

attorney who “devised and attempted to implement a strategy to leverage the Vice President’s

ceremonial role overseeing the certification proceeding to obstruct the certification of the

presidential election,” caused the filing in a federal court of a “verification” signed by the

defendant “affirming false election fraud allegations made on his behalf in a lawsuit filed in his

name against the Georgia Governor”); id. at ¶¶ 8(e), 8(f), 61 (alleging that Co-Conspirator 1, Co-

Conspirator 5, a private attorney “who assisted in devising and attempting to implement a plan to

submit fraudulent slates of presidential electors to obstruct the certification proceeding,” and Co-

Conspirator 6, a “political consultant who helped implement a plan to submit fraudulent slates of

presidential electors to obstruct the certification proceeding,” participated in a call with the

defendant’s electors in Pennsylvania, during which Co-Conspirator 1 “falsely assured” the electors

that the electoral certificates “would only be used if the Defendant succeeded in litigation”).

        The same is true for the allegations describing the conspirators’ efforts to organize

fraudulent electoral slates and cause them to transmit false certificates to Congress in anticipation

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of the certification proceeding on January 6, 2021. See ECF No. 1 at ¶¶ 53-69. Again, those acts

were carried out by and on behalf of the defendant in his capacity as a candidate, and the extensive

involvement of private attorneys and campaign staff in procuring the fraudulent slates as alleged

in the indictment underscores that those activities were not within the outer perimeter of the office

of the presidency. In response, the defendant suggests (Mot. 44) essentially that because both the

presidency and presidential electors are defined in the Constitution, the former necessarily bears

responsibility for “protecti[on]” of the latter. But the defendant cites no legal principle or case that

would extend the president’s constitutional duties—or the scope of his office—to the preparation

and submission of slates of electors supporting his candidacy for reelection. Second, the defendant

argues (id.) that organizing the fraudulent slates was “ancillary and preparatory” to

“communicating with the Vice President and other Members of Congress.” But the defendant fails

to explain how communications related to the preparation and submission of slates of electors on

behalf of a candidate for office fall within the outer perimeter of a president’s duties. And because

the indictment includes allegations that fall outside the outer perimeter of the president’s powers

even under the broadest understanding of that term, the remedy of dismissal is inappropriate.




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IV.    Conclusion

       For the foregoing reasons, the Court should deny the defendant’s motion to dismiss the

indictment on the ground that a former president is immune from criminal prosecution.


                                                     Respectfully submitted,

                                                     JACK SMITH
                                                     Special Counsel

                                           By:       /s/ James I. Pearce
                                                     James I. Pearce
                                                     Assistant Special Counsel
                                                     Molly Gaston
                                                     Thomas P. Windom
                                                     Senior Assistant Special Counsels
                                                     950 Pennsylvania Avenue NW
                                                     Room B-206
                                                     Washington, D.C. 20530




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